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Attorneys for Defendant


               IN THE UNITED STATES DISTRICT COURT

                     FOR THE DISTRICT OF ALASKA

TOM TOM; LAURA NIGHT for  ) Case No. 3:14-cv-00208-JWS
Herself and as Personal   )
                          )
Representative of the Estate of
Caleb Night, deceased,    )
                          )
              Plaintiff,  ) STIPULATION OF DISMISSAL
                          )
     vs.                  )
                          )
UNITED STATES OF AMERICA, )
                          )
              Defendant.  )


      The Plaintiffs and defendant United States of America, via undersigned

counsel, stipulate that all claims that were asserted or that could have been

asserted by Plaintiffs against the United States in this action may be




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dismissed with prejudice, with each party to bear its own costs, expenses, and

attorney’s fees.

       RESPECTFULLY SUBMITTED on November 4, 2015, at Anchorage,

Alaska.

                                                    KAREN L. LOEFFLER
                                                    United States Attorney

                                                    s/E. Bryan Wilson
                                                    E. BRYAN WILSON
                                                    Assistant U. S. Attorney

                                                    HENDERSON LAW OFFICES


                                                    s/David Henderson
                                                    Attorney for Plaintiffs
CERTIFICATE OF SERVICE

I hereby certify that on November 4, 2015
a copy of the foregoing was served via electronic
service on:

David Henderson

s/E. Bryan Wilson
Office of the U.S. Attorney




Tom Tom and Laura Night, PR Est of Caleb Night v. U.S.A.
Case No. 3:14-v-00208-JWS
                                      2
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